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     L.A.M.E. and L.J.D., Petitioners  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: M.L.D. No. 25SC99Supreme Court of Colorado, En BancApril 14, 2025
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      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA755
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petitions
      for Writ of Certiorari DENIED.
    